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                                                                                                  E-FILED
                                                                     Friday, 15 March, 2019 10:08:37 AM
                                                                           Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT Of ILLINOIS
__________________________________________
                                              )
AARON O’NEAL and                              )
JOHN LAVELLE                                  )
                        Plaintiffs,           )
                 v.                           )
                                              )
JOHN BALDWIN, DIRECTOR,                       )
ILLINOIS DEPARTMENT                           )
OF CORRECTIONS, in his official and           )
individual capacity; MANUEL ROJAS,            )
in his official and individual capacity;      )    Case No. 18-CV-4063-SEM-TSH
STEPHANIE DORETHY,                            )
in her official and individual capacity;      )
FREDDIE BRITTON, in his official and          )
individual capacity; ROBERT RODRIGUEZ,        )
in his official and individual capacity;      )
JOE LAHOOD, in his official and individual    )
capacity; JOHN FROST, in his official         )
and individual capacity; STEVE GANS,          )
in his official and individual capacity;      )
MELISSA PHOENIX, in her official and          )
individual capacity                           )
                                              )
                                              )
                        Defendants.           )
                                              )


  MOTION FOR LEAVE TO FILE A REPLY TO PLAINTIFF’S RESPONSE TO THE
      MOTION WITHDRAW AS PLAINTIFF’S COUNSEL AND TO STRIKE
              PLAINTIFFS’ FIRST AMENDED COMPLAINT

       Edelman, Combs, Latturner & Goodwin, LLC, Daniel A. Edelman, Cathleen M. Combs,

Cassandra P. Miller, and Mary Frances Charlton (“counsel”) hereby request leave to file a Reply

to Plaintiff Aaron O’Neal’s Response to their Motion to Withdraw as Counsel (“the Response”).

In support of their motion, counsel states:



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       1.      Local Rule 7.1(B)(3) provides that no reply to a response to a motion is permitted

without leave of Court.

       2.      Several of the assertions made in the Response mischaracterize plaintiffs’

counsel’s actions and conversations between plaintiffs and counsel.

       3.      Allowing counsel to reply to the Response would not prejudice any party and

would offer clarification to the Court.

       4.      Counsel’s proposed Reply is attached as Appendix A.

       WHEREFORE, Daniel A. Edelman, Cathleen M. Combs, Cassandra P. Miller, Mary

Frances Charlton, and the firm of Edelman, Combs, Latturner & Goodwin, LLC respectfully

request that this Court enter an order granting them leave to reply to Plaintiff O’Neal’s Response

to their Motion to Withdraw as Counsel.



                                                     Respectfully submitted,

                                                     s/ Cassandra P. Miller
                                                     Cassandra P. Miller

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Cathleen M. Combs
Cassandra P. Miller
Mary Frances Charlton
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                                CERTIFICATE OF SERVICE

         I, Cassandra P. Miller, certify that on March 15, 2019 I caused a true and accurate copy
of the foregoing document to be filed via CM/ECF system, which will send notification of such
filing to all counsel of record and mailed the foregoing document to the following parties not
registered through CM/ECF:

       Aaron O’Neal, N53022
       HILL CORRECTIONAL CENTER
       Inmate Mail/Parcels
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                                                            s/ Cassandra P. Miller
                                                            Cassandra P. Miller
Daniel A. Edelman
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